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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                           CIVIL ACTION NO. 3:16-CV-742-DJH


 STEPHANIE TROUTMAN,
 Administratrix of the Estate of
 CHARLES R. TROUTMAN, Jr.,
 Deceased,                                                                           Plaintiff,

 v.

 LOUISVILLE METRO DEPARTMENT
 OF CORRECTIONS, et al.,                                                         Defendants.


                                   Order on Status Conference

        On January 9, 2018, the Court held a status conference regarding this case’s pervasive

 discovery issues.   Christina Norris and Larry Simon appeared on behalf of the plaintiff,

 Stephanie Troutman (“Troutman”). Denis Ogburn appeared on behalf of defendant Louisville

 Metro Department of Corrections (“Louisville Metro”), and Megan O’Reilly appeared on behalf

 of defendant Correct Care Solutions (“CCS”). The Director of the Louisville Metro Department

 of Corrections, Mark Bolton, was also in attendance.

        At the hearing, the Court addressed several of its concerns, chiefly Louisville Metro’s

 delayed responses to several of Troutman’s written discovery requests and its last minute

 cancellations of depositions. The Court related its expectation to the parties that they will not

 cancel future depositions absent emergency circumstances. The Court is satisfied that the parties

 understand the Court’s discovery expectations and it does not anticipate any future issues. As

 the Court stated at the hearing, Troutman may file a motion seeking reasonable fees if she

 wishes. This should not be construed as an invitation to file such a motion.
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                          Also as discussed at the hearing, the Court hereby makes the following changes to the

                   current discovery deadlines:

                          (1) The parties shall complete written fact discovery no later than January 23, 2018.

                   The deadline for all other fact discovery remains March 16, 2018.

                          (2) Plaintiff shall complete identification of experts in accordance with Fed. R. Civ. P.

                   26(a)(2) no later than May 18, 2018. Defendant shall complete identification of experts no later

                   than July 27, 2018.

                          (3) The parties shall complete all expert discovery no later than September 28, 2018.

                          (4) No later than November 23, 2018, the parties shall file all dispositive motions and

                   any motions objecting to the admissibility of expert witness testimony under Federal Rule of

                   Evidence 702, Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and Kumho

                   Tire Co. v. Carmichael, 526 U.S. 137 (1999).

                          IT IS SO ORDERED.




                   cc: Counsel of record
                   0:30




                                                                   Colin Lindsay, MagistrateJudge
                                                                    United States District Court




January 10, 2018
